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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 ALLSTATE LIFE INSURANCE COMPANY,
                                             Case No.: 3:15-cv-08251-AET-TJB
               Plaintiff,

          v.

 JEFFREY STILLWELL, STILLWELL
 FINANCIAL ADVISORS, LLC, and
 THERESA FRANCY,

               Defendant.

                                             JOINT MOTION FOR DISMISSAL OF
 JEFFREY STILLWELL,                          CLAIMS AND TO ENTER BRIEFING
                                             SCHEDULE ON PLAINTIFF’S
               Counterclaim-Plaintiff,       MOTION FOR FEES AND COSTS
          v.

 ALLSTATE LIFE INSURANCE COMPANY,

               Counterclaim-Defendant.




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          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff/Counterclaim

 Defendant Allstate Life Insurance Company, on the one hand, and Defendant/Counterclaim

 Plaintiff Jeffrey Stillwell, and Defendants Stillwell Financial Advisors, LLC, and Theresa Francy

 (“Defendants”), on the other hand, by and through their respective undersigned counsel, hereby

 stipulate and agree that:

          1.      Allstate Life Insurance Company voluntarily dismisses Count V of its Amended

 Complaint, with prejudice;

          2.      Jeffrey Stillwell voluntarily dismisses Count II and III of his Counterclaim against

 Allstate Life Insurance Company, with prejudice;

          3.      Allstate Life Insurance Company voluntarily waives its rights to seek compensatory

 damages, punitive damages or any other damages against Defendants arising out of this case, other

 than attorneys’ fees and costs under Federal Rule of Civil Procedure 54(d).

          4.      Upon the dismissal of the foregoing claims, the trial scheduled for September 22,

 2021, should be cancelled;

          5.      Plaintiff Allstate Life Insurance Company is permitted to file a Motion for Fees and

 Costs pursuant to Federal Rule of Civil Procedure 54(d) and Local Rules 54.1 and 54.2, with the

 briefing schedule as follows:

               a. Plaintiff to file Motion for Fees and Costs on or by April 22, 2021;

               b. Defendants to file opposition to Motion for Fees and Costs on or by May 28, 2021;

               c. Plaintiff to file reply to Motion for Fees and Costs on or by June 17, 2021.

          WHEREFORE, Plaintiff Allstate Life Insurance Company and Defendants Jeffrey

 Stillwell, Stillwell Financial Advisors, LLC, and Theresa Francy respectfully request this Court

 grant the Motion to Dismiss Count V of the Amended Complaint, Counterclaim Counts II and III,




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 and grant Plaintiff Leave to file its Motion for Fees and Costs pursuant to the schedule outlined

 herein.


 Date: March 9, 2021                         Respectfully submitted,

                                             SEYFARTH SHAW LLP


                                             By: /s/ James S. Yu
                                                 James S. Yu
                                                 620 Eighth Avenue, 32nd Floor
                                                 New York, NY 10018
                                                 Tel.: (212) 218-5500

                                                    J. Scott Humphrey (admitted pro hac vice)
                                                    Robyn E. Marsh (admitted pro hac vice)
                                                    233 South Wacker Drive, Suite 8000
                                                    Chicago, Illinois 60606
                                                    Tel.: (312) 460-5000

                                             Attorneys for Plaintiff Allstate Life Insurance
                                             Company

                                             and

                                             BUCHANAN INGERSOLL & ROONEY PC

                                             By: S/ Andrew J. Shapren
                                                 Andrew J. Shapren (NJ ID No. 0732621)
                                                 Anne E. Kozul (NJ ID No. 029622007)
                                                 Two Liberty Place
                                                 50 S. 16th St., Suite 3200
                                                 Philadelphia, PA 19102-2555
                                                 Te;: (215) 665-8700

                                             Attorneys for Defendants and Counter-Claim Plaintiff




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                                   CERTIFICATE OF SERVICE

          The undersigned attorney hereby certifies that on March 9, 2021, he electronically filed the

 foregoing with the Clerk of the Court using the ECF system, which will send notification to all

 counsel of record.

                                                /s/ James S. Yu
                                                       James S. Yu




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